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                                                                   U.S. I>epartment           of Justice

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                                                                       August 30, 2017

Gary Proctor, csq.
Law Office of Gary Proctor
8 E Mulberry St
Baltimore, MD 21202


               Re:             United States v. Damian Jordan                                                                  (J1
                               Crim. No.: JFM-16-0499                                                                          o

Dear Counsel:

         This Ictter, togcthcr with the Sealcd Supplement, confirms the plea ab'Teement, which has
becn offercd to the defendant by the United States Attorney's Office for the District of Maryland
(""this Office"). If the Defendant accepts this offer, please have him execute it in the spaces provide
below. If this offer has not been accepted by October 13,2017, it will be deem cd withdrawn.
The tenns of the agreement arc as follows:

                                                    Offense of Conviction

        I.     The Defendant agrees to plead guilty to Count One of the Indictment now pending
against him, which charges him with interference with commerce by robbery in violation of 18
U.S.C. S 1951 (a). The Defendant admits that he is. in fact, guilty of the offensc and will so advise
the COllrt.

                                                    Elements of the Offense

       2.      The clements of the offense to which the defendant has agreed to plead guilty, and
whieh this Office would have to prove if this matter proceeded to trial, arc as follows:

On or around January 13, 2016. in the District of Maryland:

               a.     The defendant did unlawfully take and obtain money and property from the
person and presence of an employee of the GameSrop video game store located at 5768 Baltimore
National Pike, Catonsville, Maryland;

                b.     That the taking of money was against the employee's will by means of
actual and threatened force, violence. and fear of injury to the employee's person: and
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                c.      That the taking of money and property from the employee of the GameStop
video game store affected, obstructed or interfered with interstate commerce as that term is defined
in Title 18, United States Code, Section 1951, Subsection (b )(3).

                                              Penalties

        3.      The offense to which the Defendant is pleading guilty carries a maximum penalty
of 20 years of incarceration, which is followed by a term of supervised release of not more than
three years, and a $250,000 fine. In addition, the Defendant must pay $1 00 as a special assessment
pursuant to 18 U.S.C ~ 3013(a)(2)(A), which will be due and should be paid at or before the time
of sentencing. The Court may also order him to make restitution pursuant to 18 U.S.C. ~~ 3663,
3666A, and 3664.' If a fme or restitution is imposed, it shall be payable immediately, unless,
pursuant to 18 U.S.C. ~ 3572(d), the Court orders otherwise. The Defendant understands that if
he serves a term of imprisonment, is released on supervised release, and then violates the
conditions of his supervised release, his supervised release could be revoked-even     on the last day
of the term-and      the Defendant could be returned to custody to serve another period of
incarceration and a new term of supervised release. The defendant understand that the Bureau of
Prisons has sole discretion in designating the institution in which the defendant will serve any term
of imprisonment.

                                          Waiver of Rights

        4.      The defendant understands     that by entering into this agreement, he surrenders
certain rights as outlined below:

                 a.     If the Defendant had persisted in his plea of not guilty, he would have had
the right to a speedy jury trial with the close assistance of competent counsel. That trial could be
conducted by ajudge, without a jury, if the defendant, this Office, and the Court all agreed.

                b.      If the Defendant elected a jury trial, the jury would be composed of twelve
individuals selected from the community. Counsel and the Defendant would have the opportunity
to challenge prospective jurors who demonstrated bias or who were otherwise unqualified, and
would have the opportunity to strike a certain number of jurors peremptorily. All twelve jurors
 would have to agree unanimously before the Defendant could be found guilty of any count. The
jury would be instructed that the Defendant was presumed to be innocent, and that presumption
 could be overcome only by proof beyond a reasonable doubt.

                c.     If the Defendant went to trial, the Government would have the burden of
proving the Defendant guilty beyond a reasonable doubt. The Defendant would have the right to
confront and cross-examine the Government's witnesses. The Defendant would not have to
present any defense witnesses or evidence whatsoever. If the Defendant wanted to call witnesses
in his defense, however, he would have the subpoena power of the Court to compel the witnesses
to attend.


       Pursuant to 18 U.S.C. ~ 3612, if the Court imposes a fine in excess of$2,500 that remains
unpaid 15 days after it is imposed, the defendant shall be charged interest on that fine, unless the
Court modifies the interest payment in accordance with 18 U.S.C ~ 3612(1)(3).
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                 d.      The Defendant would have the right to testify in his own defense if he so
chose, and he would have the right to refuse to testify. If he chose not to testify, the Court could
instruct the jury that they could not draw any adverse inference from his decision not to testify.

               e.      If the Defendant were found guilty after a trial, he would have the right to
appeal the verdict and the Court's pretrial and trial decisions on the admissibility of evidence to
see if any errors were committed which would require a new trial or dismissal of the charges
against his. By pleading guilty, the defendant knowingly gives up the right to appeal the verdict
and the Court's decisions.

                 f.     By pleading guilty, the defendant will be giving up all ofthese rights, except
the right, under the limited circumstances set forth in the Waiver of Appeal paragraph below, to
appeal the sentence. By pleading guilty, the defendant understands that he may have to answer
the Court's questions both about the rights he is giving up and about the facts of his case. Any
statements the defendant makes during such a hearing would not be admissible against him during
a trial except in a criminal proceeding for peIjury or false statement.

                g.      If the Court accepts the defendant's plea of guilty, there will be no further
trial or proceeding of any kind, and the Court will find him guilty.

                h.      By pleading guilty, the Defendant will also be giving up certain valuable
civil rights and may be subject to deportation or other loss of immigration status. The Defendant
recognizes that ifhe is not a citizen of the United States, pleading guilty may have consequences
with respect to his immigration status. Under federal law, conviction for a broad range of crimes
can lead to adverse immigration consequences, including automatic removal from the United
States. Removal and other immigration consequences are the subject of a separate proceeding,
however, and the Defendant understands that no one, including his attorney or the Court, can
predict with certainty the effect of a conviction on immigration status. The defendant nevertheless
affirms that he wants to plead guilty regardless of any potential immigration consequences.

                              Advisory Sentencing Guidelines Apply

       5.       The Defendant understands that the Court will determine a sentencing guidelines
range for this case (henceforth the "advisory guidelines range") pursuant to the Sentencing Reform
Act of 1984 at 18 U.S.C. 99 3551-3742 (excepting 18 U.S.C. 99 3553(b)(l) and 3742(e)) and 28
U.S.C. 99991 through 998. The Defendant further understands that the Court will impose a
sentence pursuant to the Sentencing Reform Act, as excised, and must take into account the
advisory guidelines range in establishing a reasonable sentence.

                            Factual and Advisory Guidelines Stipulation

        6.      This Office and the Defendant understand, agree and stipulate to the Statement of
Facts set forth in Attachment A hereto, which this Office would prove beyond a reasonable doubt,
and to the following applicable sentencing guidelines factors:

Count 01 Conviction
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              a.     The parties agree that the facts stated in Attachment A would establish that
the Defendant committed the crimes charged in Count One of the Indictment.

Relevant Conduct

               b.       The parties also agree that the facts stated in Attachment A would establish
the Defendant committed the additional robberies listed below. Therefore, calculation of the
guidelines range for this plea agreement operates as if the Defendant had pled guilty to each of the
robbery counts, pursuant to V.S.S.G. 9 IB1.2(c).

       Count One - January 13,2016 GameStop Robbery
       Base offense level 20
       Increase 6 levels because a firearm was otherwise used (2B3.1 (b)(2»
       Adjusted offense level 26

       7- Eleven Robbery on December I, 2015
       Base offense level 20
       Increase 6 levels because a firearm was otherwise used (2B3.I(b)(2»
       Adjusted offense level 26

       Gaemstop Robbery on December 21, 2015
       Base offense level 20
       Increase 6 levels because a firearm was otherwise used (2B3.I(b)(2»
       Adjusted offense level 26

       GameStop Robbery on December 29, 2015
       Base offense level 20
       Increase 6 levels because a firearm was otherwise used (2B3.I(b)(2»
       Adjusted offense level 26

       GameStop Robbery on January 2,2016
       Base offense level 20
       Increase 6 levels because a firearm was otherwise used (2B3.I(b)(2»
       Adjusted offense level 26

       GameStop Robbery (first) on January 4,2016
       Base offense level 20
       Increase 6 levels because a firearm was otherwise used (2B3.1(b)(2»
       Adjusted offense level 26

       GameStop Robbery (second) on January 4,2016
       Base offense level 20
       Increase 6 levels because a firearm was otherwise used (2B3.I(b)(2»
       Adjusted offense level 26

       7-Eleven Robbery on January II, 2016
       Base offense level 20
       Increase 6 levels because a firearm was otherwise used (2B3.1 (b)(2»
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       Adjusted offense level 26


Combined Offense Level

               c.      The individual robberies produce a combined offense level as follows:

       Multiple Counts Adjustment (3D 1.4)
       Units - More than 5
       Increase the highest group offense level (26) by 5 levels.
       SUBTOTAL - 31


Acceptance of Responsibility

               d.      This Office does not oppose a two-level reduction in the Defendant's
adjusted offense level, based upon the Defendant's apparent prompt recognition and affirmative
acceptance of personal responsibility for his criminal conduct. This Office agrees to make a
motion pursuant to U.S.S.G. 9 3EI.l(b) for an additional one-level decrease by timely notifying
the Government of his intention to enter a plea of guilty, thereby permitting the Government and
the court to allocate their resources efficiently. This Office may oppose any adjustment for
acceptance of responsibility if the Defendant a) fails to admit each and every item in the factual
stipulation; b) denies involvement in the offense; c) gives conflicting statements about his
involvement in the offense; d) is untruthful with the Court, this Office, or the United States
Probation Office; e) obstructs or attempts to obstruct justice prior to sentencing; f) engages in any
criminal conduct between the date of this agreement and the date of sentencing; or g) attempts to
withdraw his plea of guilty.

       The total offense level is therefore a 28.


       7.       The Defendant understands that there is no agreement as to his criminal history or
criminal history category, and that his criminal history could alter his offense level ifhe is a Career
Offender or if the instant offense was a part of a pattern of criminal conduct from which he derived
a substantial portion of his income.

        8.      This Office and the Defendant agree that with respect to the calculation of the
advisory guidelines range, no other offense characteristics, sentencing guidelines factors, potential
departures or adjustments set forth in the United Statcs Sentencing Guidelines will be raised or are
in dispute.

                                        Rule I ](c)(l)(C) Plea

         9.     The parties stipulate and agree pursuant to Federal Rule of Criminal Procedure
I I(c)(I)(C) that a sentence of imprisonment of 156 months in the custody of the Federal Bureau
of Prisons is the appropriate disposition of this case. This agreement does not affect the Court's
discretion to impose any lawful term of supervised release, fine, or to set any lawful conditions of
probation or supervised release. In the event that the Court rejects this plea agreement, either party
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may elect to declare the agreement null and void. Should the Defendant so elect, he will be
afforded the opportunity to withdraw his plea pursuant to the provisions of Federal Rule of
Criminal Proeedure I I(c)(5).

                       Obligations of the United States Attorney's Office

        10.    At the time of sentencing, the Government agrees to recommend a sentence of 156
months imprisonment, which shall be served concurrent to the outstanding sentences the defendant
may be currently serving, and to dismiss any open counts. The parties reserve the right to bring to
the Court's attention at the time of sentencing, and the Court will be entitled to consider, all
relevant information concerning the Defendant's background, character and conduct.

                                        Waiver of Appeal

      II.       In exchange for the concessions made by this Office and the Defendant in this plea
agreement, this Office and the Defendant waive their rights to appeal as follows:

               e.      The Defendant knowingly waives all right, pursuant to 28 U.S.C. ~ 1291 or
otherwise, to appeal the Defendant'S conviction;

                f.      The Defendant and this Office knowingly waive all right, pursuant to 18
U.S.C. ~ 3742 or otherwise, to appeal whatever sentence is imposed (including the right to appeal
any issues that relate to the establishment of the advisory guidelines range, the determination of
the defendant's criminal history, the weighing of the sentencing factors, and the decision whether
to impose and the calculation of any term of imprisonment, fine, order of forfeiture, order of
restitution, and term or condition of supervised release), except as follows: (i) the Defendant
reserves the right to appeal any term of imprisonment to the extent that the term of imprisonment
is greater than 156 months; (ii) and this Office reserves the right to appeal any term of
imprisonment to the extent that it is below a term of imprisonment of 156 months.

                g.      Nothing in this agreement shall be construed to prevent the Defendant or
this Office from invoking the provisions of Federal Rule of Criminal Procedure 35(a), or from
appealing from any decision thereunder, should a sentence be imposed that resulted from
arithmetical, technical, or other clear error.

                h.     The Defendant waives any and all rights under the Freedom of Information
Act relating to the investigation and prosecution of the above-captioned matter and agrees not to
file any request for documents from this office or any investigating agency.

                            Obstruction of Other Violations of the Law

         12.     The Defendant agrees that he will not commit any offense in violation of federal,
state or local law between the date of this agreement and his sentencing in this case. In the event
that the Defendant (i) engages in conduct after the date of this agreement which would justify a
finding of obstruction of justice under U.S.S.G. ~ 3Cl.l, or (ii) fails to accept personal
responsibility for his conduct by failing to acknowledge his guilt to the probation officer who
prepares the Presentence Report, or (iii) commits any offense in violation of federal, state or local
law, then this Office will be relieved of its obligations to the Defendant as reflected in this
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agreement. Specifically, this Office will be free to argue sentencing guidelines factors other than
those stipulated in this agreement, and it will also be free to make sentencing recommendations
other than those set out in this agreement. As with any alleged breach of this agreement, this
Office will bear the burden of convincing the Court of the Defendant's obstructive or unlawful
behavior and/or failure to acknowledge personal responsibility by a preponderance ofthe evidence.
The Defendant acknowledges that he may not withdraw his guilty plea because this Office is
relieved of its obligations under the agreement pursuant to this paragraph.

                                         Court Not a party

          13.   The Defendant expressly understands that the Court is not a party to this agreement.
In the federal system, the sentence to be imposed is within the sole discretion of the Court. The
Court is under no obligation to accept this plea agreement. In the event the Court rejects this Rule
 II(c)(I)(C) plea agreement, pursuant to Rule 11(c)(5)(C), the Defendant will be informed that he
may withdraw his plea. Ifhe persists in the guilty plea thereafter, the Defendant understands that
the disposition of the case may be less favorable than that contemplated by this agreement. The
Defendant understands that neither this Office, his attorney, nor the Court can make a binding
prediction or promise that the Court will accept this agreement. The Defendant agrees that no one
has made such a binding prediction or promise.

                                         Entire Agreement

         14.      This letter supersedes any prior understandings, promises, or conditions between
this Office and the Defendant and, together, with the Sealed Supplement, constitutes the complete
plea agreement in this case. The Defendant acknowledges that there are no other agreements,
promises, undertakings, or understandings between the Defendant and this Office other than those
set forth in this letter and the Sealed Supplement and none will be entered into unless in writing
and signed by all parties.

        If the defendant fully accepts each and every term and condition of this agreement, please
sign and have the Defendant sign the original and return it to me promptly.


                                                      Very truly yours,

                                                      Stephe~ Schenning
                                                      United States Attorney


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                                                      Assistant United S     es Attorney




                                                                          States Attorney
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        I have read this agreement, including the Sealed Supplement, and carefully reviewed every
part of it with my attorney. I understand it and [ voluntarily agree to it. Specifically, I have
reviewed the Factual and Advisory Guidelines Stipulation with my attorney, and I do not wish to
change any part of it. I am completely satisfied with the representation that my attorney has
provided me in this matter.

JO/~/IJ./
   I
Date!
                                                            o()~u~
                                                                U
                                                            Damion Jordan

        I am Damion Jordan's attorney. I have carefully reviewed every part of this agreement,
including the Sealed Supplement, with him. He advises me that he understands and accepts the
terms of this agreement. To my knowledge, his decision to enter into this agreement is an informed
and voluntary one.

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Dat~      I
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                                           Attachment A

       The parties agree that the Government could prove the following facts beyond a reasonable
doubt at trial:

December I. 2015 (7-Elevenl
        On December 1,2015, at approximately I :20 a.m., the defendant and another person
entered the 7-Eleven store located at 1611 Edmondson Avenue, Catonsville, Maryland. They
brandished a firearm, and ordered the store clerk to lay on the floor. The two stole numerous
packs of Newport cigarettes and money from the store's cash register. They then fled from the
location.

 December 2 I. 2015 (GameStopl
         On December 21,2015, the defendant and another person entered the GameStop store
 located at 3611 Washington Boulevard, Halethorpe, Maryland. The suspects brandished a
firearm and demanded that the store employees give them the money from the cash registers. The
pair then demanded that all of the associates and customers inside of the store enter the back
stock room. There, the two demanded the cell phones of all of the occupants. The defendant and
the other person took six (6) video game systems from the store as well as over $2,000 in cash.

December 29,2015 (GameStopl
        On December 29, 2015, the defendant and another person entered the GameStop store
located at 3755 Old Court Road, Baltimore, Maryland. The suspects pointed a firearm at
employees and customers and forced them into the rear of the store. They demanded that all store
occupants deliver up their cellular phones. The defendant and his accomplice then removed xBox
one gaming systems from the shelves and left the store.

January 2,2016 (GameStopl
        On January 2, 2016, the defendant and another person entered the GameStop store
located at 14203 Baltimore Avenue, Laurel, Maryland. The two suspects were wearing hooded
sweatshirts and masks. They brandished a firearm and demanded money from the store
employees. The defendant and the other suspect ordered the customers and employees inside the
store were to stand against the wall where they were forced to deliver up their phones and keys.
The defendant and the other suspect took money from the cash register and assorted merchandise
 from the store. The defendant and the other suspect then exiled the store.

January 4,2016 (GameStopl (First)
         On January 4, 2016, at approximately 7:31 p.m., the defendant and another person
entered the GameStop store located at 7300 Ritchie Highway, Glen Burnie, Maryland. They
pointed a firearm at employees and customers and demanded money from the store employees.
The defendant and the other suspect took personal items from several store employees and then
forced them into a room in the rear of the store. Prior to exiting the store, the defendant and the
other suspect stole cash from the register and approximately seven (7) xBox one gaming
systems.

January 4,2016 (GameStopl (Secondl
        On January 4,2016, at approximately 8:52 p.m., the defendant and another person
entered the GameStop store located at 8067 Windsor Mill, Maryland. They pointed a firearm at,
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and demanded money from, the store employees. One of the suspects grabbed two customers and
took them to a back room. The second suspect asked the associates to open the cash registers and
collected the money contained therein. After collecting the money, the defendant and the other
suspect forced two store employees to the backroom. There, the two suspects stole cellphones
from the employees and the customers. In addition to the money taken from the register,
approximately four xBox items were stolen.

January I J. 2016 (7-Elevenl
       On January I 1,2016, the defendant and another person entered the 7-Eleven store located
at 1611 Edmondson Avenue, Catonsville, Maryland. They pointed a fireann at, and demanded
money, from the store employees. The pair stole money from the register and numerous packs of
Newport cigarettes. They then exited the store.

January 13,2016 (GameS\QJ2}
     On January 13,2016, the defendant, Damion Jordan, and another man entered the GameStop
store at 5768 Baltimore National Pike, Catonsville, Maryland. The GameStop store is a
commercial business that buys and sells merchandise in interstate commerce.

     At the time he entered the store, Damion Jordan was wearing a yellow construction vest and
purple construction hat bearing the logo "DCS Staffing." The second suspect was wearing black
sweatpants and a black hoodie. Damion Jordan pointed a revolver at a store employee and
demanded all of the money in the register, while the second suspect demanded video games. The
suspects thereafter instructed the employee and a male customer to go to the back of the store, at
which point they robbed the store of seven PS4 gaming systems. The suspects then departed, and
the employee dialed 9-1-1.

     A police officer responded to the 9-1-1 call noticed a vehicle speeding away from the parking
lot and gave chase. The suspect vehicle-in which Damion Jordan and the second suspect were
driving-suddenly     and recklessly evaded the officer, sped away, ran a stop sign, and nearly
collided with several motorist and pedestrians during flight. Eventually, the Defendants' vehicle
crashed near a Baltimore County Police station. The Defendant and the second suspect then
exited the vehicle and fled on foot.

    Thereafter, police apprehended Damion Jordan and another person. Police sought, obtained,
and executed a search warrant of the vehicle. Investigators recovered video game consoles and
materials matching the items stolen from the GameStop. Police recovered a revolver resembling
that used in every previous robbery as well as an additional handgun.

     The taking of money and property by the defendant affected, obstructed, interfered with and
otherwise delayed commerce because it deprived the GameStop store of proceeds that it would
have used to purchase and transact in interstate commercial goods, including goods
manufactured outside Maryland, for sale within Maryland. The robbery also interfered with
interstate commerce because the robbery caused the GameStop store to cease operation and to
limit its operations while the victim and other employees responded to the robbery.

       All events occurred in the District of Maryland.
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..
                                                           ~1/I-J
                                                          David Metcalf
                                                          Assistant United States Attorney




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             I have read this Statement of Facts and carefully reviewed every part of it with my




     Date                                                                DamlOn Jordan

            I am Damion Jordan's attorney. I have carefully reviewed every part of this Statement of
     Facts with him. To my knowledge, his decision to sign it is a voluntary one.
